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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        :

               v.                               :      Criminal No. 20-368

CARLOS MATCHETT, et al.                         :
  a/k/a “Carlito Matchet”
                                                :


                     ORDER CLARIFYING RESTITUTION ORDERS


       AND NOW, this _____ day of ____________________, 2024, upon consideration of

the government’s motion pursuant to Federal Rule of Criminal Procedure 36 to clarify the

restitution orders contained in the judgments in these cases to properly reflect the joint and

several restitution obligations owed by each defendant and the correct name and address of

the restitution payee, and for the reasons set forth in the motion and for good cause shown,

the Court concludes that it should grant the motion, and, therefore, it is hereby ORDERED as

follows:

       1.      The Motion of United States of America for Order to Clarify Restitution

Orders is GRANTED.

       2.      The judgment entered against defendant Carlos Matchett (20-CR-368-01)

dated March 16, 2023 (ECF 117) shall reflect that the defendant is jointly and severally liable

for restitution in the amount of $28,588.80 with co-defendants Khalif Miller (20-CR-368-02)

and Anthony David Alexander Smith (20-CR-368-03).
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       3.      The judgment entered against defendant Khalif Miller (20-CR-368-02) dated

April 3, 2023 (ECF 125) shall reflect that the defendant is jointly and severally liable for

restitution in the amount of $28,588.80 with co-defendants Carlos Matchett (20-CR-368-01)

and Anthony David Alexander Smith (20-CR-368-03).

       4.      The judgment entered against defendant Anthony David Alexander Smith

(20-CR-368-03) dated November 23, 2023 (ECF 143) shall reflect that restitution is to be

paid to: “Department of Fleet Services, 100 South Broad Street, Philadelphia, PA 19102.”

       5.      The Clerk of Court is authorized to correct its records accordingly to reflect

these changes. All other provisions of the judgments entered in these cases remain

unmodified and in effect.



                                            ________________________________________
                                            HONORABLE JUAN R. SANCHEZ
                                            United States District Judge




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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :

               v.                                :      Criminal No. 20-368

CARLOS MATCHETT, et al.                          :
  a/k/a “Carlito Matchet”
                                                 :


                      MOTION OF UNITED STATES OF AMERICA
                    FOR ORDER TO CLARIFY RESTITUTION ORDERS


       Pursuant to Federal Rule of Criminal Procedure 36, the United States of America, by

its attorneys, respectfully moves for entry of an order to clarify the restitution orders

contained in the judgments in these cases to properly reflect the joint and several restitution

obligations owed by each defendant and the correct name and address of the restitution

payee. In support of this motion, the government avers as follows:

       1.      Defendants Carlos Matchett (20-CR-368-01), Khalif Miller (20-CR-368-02),

and Anthony David Alexander Smith (20-CR-368-03) each pleaded guilty to obstruction of

law enforcement during a civil disorder, and aiding and abetting, in violation of 18 U.S.C.

§§ 231(a)(3) and 2. These charges relate to the defendants’ conduct involving the destruction

of a Philadelphia Police Department vehicle by arson during a civil demonstration.

       2.      On March 15, 2023, this Court sentenced defendant Carlos Matchett and

ordered him to pay $28,588.80 in restitution. ECF 117. The judgment reflects that Matchett

jointly and severally owes restitution only with co-defendant Khalif Miller (20-CR-368-02).
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Id., p. 7. The judgment also reflects that restitution is to be paid to: “Department of Fleet

Services, 100 South Broad Street, Philadelphia, PA 19102.” Id., p. 6.

       3.       On April 3, 2023, this Court sentenced defendant Khalif Miller and ordered

him to pay $28,588.80 in restitution. ECF 125. The judgment reflects that Miller jointly and

severally owes restitution only with co-defendant Carlos Matchett (20-CR-368-01). Id., p. 7.

The judgment also reflects that restitution is to be paid to: “Department of Fleet Services,

100 South Broad Street, Philadelphia, PA 19102.” Id., p. 6.

       4.       On November 28, 2023, this Court sentenced defendant Anthony David

Alexander Smith and ordered him to pay $28,588.80 in restitution. ECF 143. The judgment

properly reflects that Smith jointly and severally owes restitution with co-defendants

Matchett and Miller. Id., pp. 7-8. However, the judgment reflects that restitution is to be paid

to a different payee with the City of Philadelphia: Agnes Houlne, 1515 Arch Street,

14th Floor, Philadelphia, PA 19102. Id., p. 6.

       5.       Pursuant to Federal Rule of Criminal Procedure 36, the government seeks to

clarify the restitution orders contained in the judgments in these cases to properly reflect the

joint and several restitution obligations owed by each defendant and identify the correct the

name and address of the party responsible for receiving restitution for the City of

Philadelphia.

       6.       Relief 36 provides “[a]fter giving any notice it considers appropriate, the court

may at any time correct a clerical error in a judgment, order, or other part of the record, or

correct an error in the record arising from oversight or omission.” The Third Circuit has held

that the courts normally use Rule 36 “to correct a written judgment of sentence to conform to

the oral sentence pronounced by the judge.” United States v. Bennett, 423 F.3d 271, 278
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(3d Cir. 2005). See also United States v. Clark, 671 F. App’x 25, 26 (3d Cir. 2016) (not

precedential).

       7.        Courts also use Rule 36 to modify a judgment of sentence where the correction

is deemed non-substantive. See e.g. United States v. Williams, 233 Fed. App’x 183, 184

(3d Cir. 2007) (non-precedential) (affirming district court’s correction of a sentence to make

restitution joint and several); United States v. Bennett, 423 F.3d at 277-78 (affirming district

court’s correction of a sentence by adding a preliminary forfeiture order to the sentence; such

was deemed correcting a clerical error). See also United States v. Jones, 2015 WL 525184,

*4-5 (E.D. Pa. Feb. 9, 2015).

       8.        Relief under Rule 36 is necessary and proper in this instance. While

defendants Matchett, Miller, and Smith are each jointly and severally liable for restitution to

the City of Philadelphia in the amount of $28,588.80, their judgments do not properly reflect

this requirement. The judgments for Matchett and Miller reflect that they jointly and

severally owe restitution with each other and do not reflects that the obligation is jointly and

severally owed with co-defendant Smith. The judgment for Smith, on the other hand,

properly reflects that all three defendants are jointly and severally liable for restitution.

       9.        This Court also should correct the judgment for defendant Smith to identify

the proper restitution payee. The government confirmed that the proper payee should be the

Department for Fleet Services for the City of Philadelphia, which is reflected on the

judgments for co-defendants Matchett and Miller.

       10.       Relief is warranted under Rule 36 to enable the Clerk of Court to maintain

accurate restitution records to properly account for and credit restitution paid and owed by all

three defendants. The relief also will enable the Clerk of Court to forward restitution
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payments to the authorized recipient for the City of Philadelphia. Importantly, the requested

clarification is non-substantive and will not unduly prejudice the defendants because it does

increase the amount of the restitution judgments in any respect. Accordingly, the government

requests that this Court grant the motion.

       WHEREFORE, for the reasons explained above, the government requests that this

Court grant the motion.

                                                   Respectfully submitted,

                                                   JACQUELINE C. ROMERO
                                                   United States Attorney


                                                    /s/ Joseph F. Minni
                                                   JOSEPH F. MINNI
                                                   Assistant United States Attorney

Date: April 26, 2024.




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                              CERTIFICATE OF SERVICE


       IT IS HEREBY CERTIFIED that a true and correct copy of the MOTION OF

UNITED STATES OF AMERICA FOR ORDER TO CLARIFY RESTITUTION ORDERS

was electronically filed in the Clerk’s Office Electronic Case Filing (ECF) system and is

available for viewing and downloading from the ECF system, and that a true and correct

copy was served by electronic filing, on counsel of record as follows:

                             Katrina Young, Esquire

                             Coley O. Reynolds, Esquire

                             Paul J. Hetznecker, Esquire



                                                   /s/ Joseph F. Minni
                                                  JOSEPH F. MINNI
                                                  Assistant United States Attorney

Date: April 26, 2024.
